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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     In re ORDELL ELIZABTH MOON,                        Case No. 23-cv-04521-PCP
                                                        Debtor-Appellant.
                                   8
                                                                                            ORDER DENYING MOTIONS TO
                                   9                                                        IMPOSE STAY

                                  10                                                        Dkt. Nos. 7, 8

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                                  12
Northern District of California
 United States District Court




                                  13          Appellant Moon moves to impose a stay as to Appellees Citibank, N.A. and Deutsche

                                  14   Bank National Trust Co., creditors who have claimed a security interest in the contested property.

                                  15   ECF Nos. 7, 8. The Court denied Moon’s prior motion to stay, ECF No. 4, for failing to state an

                                  16   entitlement to a stay under the requirements set forth in Federal Rule of Bankruptcy Procedure

                                  17   8007(b). ECF No. 6. The renewed motions to stay suffer from the same deficiency.

                                  18          After the bankruptcy court below denied Moon’s initial motion to continue an automatic

                                  19   stay, Moon filed her motion here. To determine if a stay is warranted, a district court must weigh:

                                  20   (1) the likelihood of Moon’s success on the merits; (2) significant and/or irreparable harm that will

                                  21   come to Moon absent a stay; (3) harm to Citibank and Deutsche Bank if a stay is granted; and (4)

                                  22   where the public interest lies. Aniel v. HSBC Bank USA, N.A., 633 B.R. 368, 385 (N.D. Cal. 2021).

                                  23   Since Moon has not explained in sufficient detail how she satisfies these requirements, the Court

                                  24   denies her motions to stay without prejudice to the filing of a subsequent motion, should she face

                                  25   imminent irreparable harm and satisfy the other requirements for Rule 8007(b) relief.

                                  26          IT IS SO ORDERED.

                                  27   Dated: October 20, 2023

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                                       Case 5:23-cv-04521-PCP Document 10 Filed 10/20/23 Page 2 of 2




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                                                                                  P. Casey Pitts
                                   2                                              United States District Judge
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Northern District of California
 United States District Court




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